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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

JOANN EGLETES                                 JURY TRIAL DEMANDED

v.                                                   CASE NO. 3:10

LAW OFFICES HOWARD LEE SCHIFF, P.C.

                                      COMPLAINT

        1. This    is an action for damages, costs and attorney's fees seeking relief

pursuant to the Fair Debt Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692.

        2. This Court has jurisdiction. 15 U.S.C. §1692k; 28 U.S.C. §1331.

        3. Plaintiff is an individual who resides in Connecticut.

        4. Plaintiff is a consumer within the meaning of the FDCPA.

        5. Defendant is a law firm in the practice of consumer debt collection.

        6. Defendant engaged in efforts to collect from plaintiff a personal credit account

on behalf of Capital One Bank.

        7. Judgment entered in favor of Capital One Bank for $1,987.82 plus $35 costs,

in Capital One Bank v. Egletes, SCC-1451 (“the Small Claims case”), on November 10,

2006.

        8. Defendant did not file a motion for postjudgment interest in the Small Claims

case, and did not allege or prove that plaintiff had unlawfully detained money.

        9. On 11/19/2009, defendant filed an application for wage execution proceedings

in the Small Claims case.

        10. On 1/14/2010, the clerk granted the application, after specifically crossing out

and initialing the portion of the form reading “with postjudgment interest from the said

Date of Judgment on the Total in line 5 above, to the date when this execution is
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satisfied.” A copy is attached hereto.

       11. Thereafter, defendant transmitted the execution to the marshal with specific

directions to add $619.43 interest to the amount of the wage execution. A copy is

attached hereto.

       12. Therefter, the marshal served the execution as directed on the plaintiff’s

employer with a letter from defendant “To Employer with copy for Employee” stating,

inter alia, “Judgment interest accrues, on the decreasing balance, until the balance is paid.

Since we are not sure how long it will take for this interim balance to be paid, we will

advise you as to the additional judgment interest which will be due when we are informed

that the interim balance is, or is almost paid.”

       13. Prior to serving the wage execution, defendant had specifically and repeatedly

sought payment of interest on the judgment amount.

       14. Upon information and belief, defendant still contends interest is due on the

Small Claims judgment.

       15. Pursuant to Conn. Gen. Stat. §37-3a, both prejudgment and postjudgment

interest is discretionary with the court. E.g., Urich v. Fish, 112 Conn. App. 837, 844, 965

A.2d 567 (2009).

       16. Defendant has a regular pattern and practice of seeking postjudgment interest

despite failing to allege or prove that a defendant has wrongfully detained funds.

       17. Defendant has a regular pattern and practice of seeking postjudgment interest

despite failing to request or receive an award of postjudgment interest.

       18. In the course of the collection, defendant violated §1692d, -e, or -f(1).




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                                 PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:

              (a)     That judgment be entered against Defendant for statutory damages,

pursuant to 15 U.S.C. § 1692k;

              (b)     That the Court award costs and reasonable attorneys’ fees,

pursuant to 15 U.S.C. § 1692k(a)(3); and,

              (f)     That the Court grant such other and further relief as may be just

and proper.


                                            PLAINTIFF,

                                            BY     /s/ Joanne S. Faulkner_
                                                   Joanne S. Faulkner ct04137
                                                   123 Avon Street
                                                   New Haven, CT 06511-2422
                                                   (203) 772-0395
                                                   faulknerlawoffice@snet.net




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